UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

In re: Chapter 7

NICHOLAS M. AND KARA N. GOETZINGER,

Case No. 24-21567-rmb
Debtors.

NICHOLAS M. GOETZINGER,
Plaintiff,
Adversary No. 24-02100-rmb

Vs.

SALLIE MAE BANK,

Defendant.

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

WHEREAS Plaintiff, Nicholas M. Goetzinger (“Plaintiff”), filed an adversary complaint
in the above-captioned Chapter 7 bankruptcy case against Sallie Mae Bank seeking a
determination of dischargeability of private student loans totaling $392,273.56 as of June 2024.

WHEREAS Defendant has not filed an answer in the above-captioned adversary
proceeding.

WHEREAS the Parties have reached and entered into a “Confidential Settlement
Agreement and Release of Claims” agreement resolving the above-captioned adversary
proceeding.

Plaintiff hereby dismisses the above-captioned adversary proceeding with prejudice, as

provided for under F.R.B.P. 7041 and F.R.C.P. 41(a)(1)(A)(i).

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Dated this 5th day of September 2024.

KREKELER LAW, S.C.

Noe J. Rincon

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